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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA




      UNITED STATES OF AMERICA
                                                                   Case No. 1:22-cr-00015-APM

       V.


      ELMER STEWART RHODES, III,
                           DEFENDANT.




                 ELMER STEWART RHODES III’s MEMORANDUM OF AUTHORITIES
            IN SUPPORT OF THE MOTION OF DEFENDANT ELMER STEWART RHODES III
                   FOR DISCLOSURE OF BRADY EXCULPATORY INFORMATION
                       AND ISSUANCE OF SUBPOENAs DUCES TECUM TO
                  WITNESSES EXPECTED TO BE CALLED BY THE PROSECUTION

        Defendant Elmer Stewart Rhodes, III, (“Rhodes”) by undersigned counsel, Edward L. Tarpley, Esq.,

hereby files this corresponding Memorandum of Points and Authorities stating his reasons why his “Motion Of

Defendant Elmer Stewart Rhodes For Disclosure Or Brady Exculpatory Information And Issuance Of

Subpoenas Duces Tecum To Witnesses Expected To Be Called By The Prosecution” should be granted, pursuant

to his constitutional rights, civil rights, and rights at law.

I.      SUMMARY OF CIRCUMSTANCES PERTINENT TO THIS MOTION

        This cannot be remedied under Jencks or Brady v. Maryland unless the Government has already --

unexpectedly -- obtained the witness’ communications after their arrest.

        Because the Government almost certainly obtained this type of information only up to the time of each

Defendant’s arrest, the Government almost certainly does not have this information from the relevant time

period. Therefore, the Government could not produce these communications under any of the governing legal

theories, because it does not have them. A subpoena under Rule 17 is necessary and required.

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       The Government will have obtained communications of these Defendants before the Defendants’ arrest.

But the issue here is impeachment of any testimony by witnesses who have changed their stories in order to

buckle to coercion by the Government.

       Thus, the focus is on any evidence as to why the witnesses changed their stories and have stated the

opposite of what they previously insisted to be the truth.

       Defendant Rhodes must conclude that some or all of these witnesses will be called to testify at trial

against him. The Government has placed them on its witness list for trial.

       Defendant Rhodes is seeking non-privileged communications from those Oath Keepers who pled guilty

up to four months prior to the time they pled guilty and within 1 month after they pleaded guilty.

       Clearly, neither Rhodes nor his counsel have any interest in communications that are unrelated to this

case and the Defendants’ decision to plead guilty and testify. Rhodes fully intends for any and all unrelated or

personal communications to be kept confidential in perpetuity.

II.    GOVERNING LAW

       Rule 16 of the Federal Rules of Criminal Procedure requires that:

                             ***
               Rule 16. Discovery and Inspection

               (d) Regulating Discovery. (1) Protective and Modifying Orders. At any time the court
               may, for good cause, deny, restrict, or defer discovery or inspection, or grant other
               appropriate relief. The court may permit a party to show good cause by a written
               statement that the court will inspect ex parte. If relief is granted, the court must
               preserve the entire text of the party’s statement under seal. (2) Failure to Comply. If a
               party fails to comply with this rule, the court may: (A) order that party to permit the
               discovery or inspection; specify its time, place, and manner; and prescribe other just
               terms and conditions; (B) grant a continuance; (C) prohibit that party from introducing
               the undisclosed evidence; or (D) enter any other order that is just under the
               circumstances.

       Rule 17 of the Federal Rules of Criminal Procedure provides: “A subpoena may order the witness to

produce any books, papers, documents, data, or other objects the subpoena designates. The court may direct the

witness to produce the designated items in court before trial or before they are to be offered in evidence.” Fed.

R. Crim. P. 17(c)(1).

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       “Rule 17 provides a limited grant of authority, mentioning pretrial production only in connection with

court approval.” US v. Binh Tang Vo, 78 F.Supp.3d, 171, 178 (D.D.C. 2015) (noting Fed. R. Crim. P. 17(c)(1));

United States v. Nixon, 418 U.S. 683, 698-99 (1974). Pretrial production is appropriate where the party issuing

the subpoena shows “(1) relevancy; (2) admissibility; [and] (3) specificity.” Nixon, 418 U.S. at 700. In the

present case, Defendant has met all these requirements.

       The Government’s obligations under Brady v. Maryland are well-known. Other Defendants have

briefed this extensively. When the Defendant requests Brady materials,

               “The government cannot meet its Brady obligations by providing the defendant with
               access to 600,000 documents and then claiming that the defendant should have been
               able to find the exculpatory information in the haystack.”

United States v. Saffarinia, 424 F.Supp.3d 46, 8 (D.D.C.), supported by United States v. Paxson, 861 F.2d 730,
737 (D.C. Cir. 1988).

       “[S]uppression by the prosecution of evidence favorable to an accused upon request violates due process

where the evidence is material to either guilt or punishment, irrespective of the good faith or bad faith of the

prosecution.” United States v. Sitzmann, 74 F.Supp.3d 128, 133-134 (D.D.C. 2014) quoting Brady v. Maryland,

373 U.S. 83, 87 (1963)).

       If an appeals court determines the suppressed evidence is material, that there is a reasonable likelihood

the evidence could have impacted the jury’s judgment, then a new trial is required. Sitzmann, 74 F.Supp.3d at

134. However, the defendant must raise at least a colorable claim that the material contains evidence “favorable

to him and material to his claim of innocence.” Id. A successful Brady claim to over-turn a conviction after

trial requires that favorable evidence to the accused for exculpatory or impeachment purposes was suppressed

by the government which prejudiced the accused. Id. Favorability to the accused requires exculpatory or

impeachment value. Id. Suppression by the government can be an intentional or inadvertent failure to disclose

the evidence. Id. at 137.

               “Impeachment evidence, however, as well as exculpatory evidence, falls within the
               Brady rule. See Giglio v. United States, 405 U.S. 150, 154, 92 S.Ct. 763, 766, 31
               L.Ed.2d 104 (1972). Such evidence is "evidence favorable to an accused," Brady,
               373 U.S., at 87, 83 S.Ct., at 1196, so that, if disclosed and used effectively, it may
               make the difference between conviction and acquittal. Cf. Napue v. Illinois, 360 U.S.
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                  264, 269, 79 S.Ct. 1173 1177, 3 L.Ed.2d 1217 (1959) ("The jury's estimate of the
                  truthfulness and reliability of a given witness may well be determinative of guilt or
                  innocence, and it is upon such subtle factors as the possible interest of the witness in
                  testifying falsely that a defendant's life or liberty may depend").”

United States v. Bagley, 473 U.S. 667, 87 L.Ed.2d 481, 105 S.Ct. 3375 (1985).

                  United States v. Sitzmann, 74 F.Supp.3d 128, 133 (D.D.C. 2014) [explains]:
                  “[S]uppression by the prosecution of evidence favorable to an accused upon request
                  violates due process where the evidence is material to either guilt or punishment,
                  irrespective of the good faith or bad faith of the prosecution.” Id. at 134 (quoting Brady
                  v. Maryland, 373 U.S. 83, 87 (1963)). And courts in in this jurisdiction disfavor narrow
                  readings by prosecutors as to their obligations under Brady.

United States v. Saffarinia, 424 F.Supp.3d 46, 57 (D.D.C.), supported by United States v. Paxson, 861 F.2d 730,
737 (D.C. Cir. 1988) (bracketed explanation added).

       Prosecutions alleging conspiracies carry the “inevitable risk of wrongful attribution of responsibility to

one or more of the multiple defendants.” Dennis v. United States, 384 U.S. 855, at 873, 16 L. Ed. 2d 973, 86 S.

Ct. 1840 (1966). Under these circumstances, it is imperative the defense, the judge, and the jury be assured “the

doors that may lead to truth have been unlocked.” Id.

                  In our adversarial system rarely is the prosecution justified in having “exclusive access
                  to a storehouse of relevant fact” and exceptions to this notion must be justified by the
                  “clearest and most compelling of considerations.”

Id. at 873-874.


III.   ARGUMENT

A.     WITNESSES ARE LIKELY TO HAVE TOLD FRIENDS AND FAMILY THAT
       THEY ARE PLEADING GUILTY FALSELY DUE TO COERCION

       Stewart Rhodes knows these Oath Keepers. He knows that if they pled guilty, they knew the Oath

Keepers engaged in no conspiracy, had no plan to commit any crime, and intended to act lawfully at all times.

       And Rhodes knows from knowing them that they must have told friends and family that they were in

fact innocent but they had to plead guilty due to the crushing financial burden and other pressures such as

incarceration and concern for the needs of their families.

       Rhodes has sufficient knowledge of these individuals to be confident that they contemporaneously told

their friends and family that they were not pleading guilty because they actually are guilty but to simply
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minimize the abuse by the Government.

       Rhodes knows these Defendants’ positions including interviews given (in effect under 18 USC 1001)

under oath to the FBI. He knows that their plea deal flip-flops are false.


       Stewart Rhodes, who personally knows the individuals and knows the truth, personally insists that the

Government has pressured and coerced these Oath Keepers members into flipping their previously-documented

testimony and will allow them to testify falsely in order to obtain leniency through plea bargains. Rhodes

knows that the witnesses have been encouraged to testify falsely because we have their FBI interviews (made

subject to the equivalent of penalty of perjury under 18 U.S.C. 1001) before their decision to plead guilty.

Statements suggesting guilt stand out as out of place within the rest of their accounts of innocence. Canned

sentences have been unnaturally grafted in that contradict the bulk of their statements even after their plea deals.

Even after pleading guilty, the witnesses clearly establish their own innocence and the innocence of all of the

Defendants here, then include scripted statements not in their own “voice” saying the opposite. The after-plea

statements are internally inconsistent and self-contradictory.

B.     SUBPOENAS MUST BE ISSUED TO OBTAIN POST-ARREST
       COMMUNICATIONS ABOUT PLEADING GUILTY

       However, the Prosecution will likely respond or quietly assume that it need not provide these

communications because although the communications may exist they are not sitting on the prosecutor’s desk in

the offices of the United States Attorney’s Office.

       Yet the Defendant is entitled to the information for impeachment of a witness against him pursuant to

Brady v. Maryland. But the focus here is on communications after their arrest.

       Defendant Rhodes respectfully demands both the disclosure and the acquisition by subpoena of

communications related to this case of witnesses that will be called by the prosecution, to the extent not a

privileged attorney-client confidential communication, for the purpose of impeachment and cross-examination.

       Rhodes, knowing these individuals, insists that each of those persons who have pled guilty will almost

certainly have emailed, texted, or sent chat messages – some not privileged -- to family, friends, or others

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explaining that they are in fact not guilty and their statements of guilt are in fact not true, but that they are

forced under the circumstances to escape the coercion, financial pressure, and the fear of lengthy imprisonment.

Rhodes contends that these persons will likely have reassured their friends and family that they did not do the

things of which they are charged but they have had to play along and say they did, in order to escape further

burdens and legal attacks.

        Given that the Government has the burden of proving every element of every criminal charge beyond a

reasonable doubt, the internal contradictions may render these witnesses inadmissible. Such witnesses who

have contradicted themselves should clear a voir dire hurdle out of the hearing of the jury to determine if they

should be allowed to testify.

        Nevertheless, exculpatory information – including information that may be used to cross-examine a

witness or impeach a witness in terms of bias or credibility must be disclosed by the Government.

        The complication here, though, is that the Government has evidently acquired the communications of

these possible witnesses up through the time of their arrest. Defendant Rhodes is demanding disclosure of their

non-privileged communications after their arrest.

C.      SUBPOENAS MUST BE ISSUED TO THOSE WHO PLED GUILTY

        Rhodes, by counsel moves the Court to issue subpoenas duces tecum to the following persons for any all

text messages, emails, chat messages, letters, notes or other correspondence – if not privileged – made up to

four (4) months prior to pleading guilty and up to one (1) month following pleading guilty, directly concerning

or related to the witnesses’ decision to pled guilty, testify to an account of events in this case different than his

or her previous account, comments or assurances that he or she is in fact not guilty despite pleading guilty,

and/or a decision to testify falsely in this case in order to get the benefits of a plea deal:

        1) Oath Keepers member and former co-Defendant William Todd Wilson

        2) Oath Keepers member and former co-Defendant Jason Dolan

        3) Oath Keepers member and former co-Defendant Joshua James

        4) Oath Keepers member and former co-Defendant Caleb Berry

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       5) Oath Keepers member and former co-Defendant Brian Ulrich

       6) Oath Keepers member and former co-Defendant Mark Grods

       The subpoena must affirmatively require each witness to obtain their text messages, emails, chat

messages or other communications from the appropriate communications company, service provider, and/or

their own smart phone (even if in the hands of the Government at the moment) or computer or paper records.

Any entirely unrelated messages or communications should not be disclosed and shall remain sealed and

confidential.

D.     CONTEXT AND MATERIALITY

       Of course, there are no allegations that Stewart Rhodes committed any violence, damaged any property,

or treated any law enforcement officer with anything less than respect anywhere in the District of Columbia

around January 5-6, 2021. Rhodes personally never entered or climbed on the Capitol building itself and never

interacted with any law enforcement officers.

       There are no factual allegations that Rhodes aided and abetted anyone in the commission of any crime.

The Government included boilerplate allegations, like an after-thought, but without any factual allegations to

support any aiding and abetting theory.

       The Grand Jury in multiple versions of the indictment acknowledges that the Oath Keepers arrived in the

area of the U.S. Capitol after the U.S. Capitol Police had already advised the presiding officers of the House and

Senate to recess, suspend the Joint Session of Congress, and evacuate the building. The Oath Keepers did not

cause a decision to recess that culminated at 2:18 PM, upon reaching the area at 2:26 PM. This timeline is

established by the Grand Jury. The Oath Keepers could not have obstructed an official proceeding prior to when

they arrived.

       In December 2020, the U.S. Capitol Police issued six permits for demonstrations to be lawfully held on

the U.S. Capitol Grounds on the afternoon of January 6, 2021. Attendees were lawfully authorized to be on the

Grounds and to travel to and from and among the permitted demonstration sites.

       The records show that the Oath Keepers travelled from the lawful demonstration at the Ellipse to the

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Capitol Grounds to assist a lawful demonstration planned at “Lot 8” on the Capitol grounds. As shown in

messaging chats relied upon by the Grand Jury, Stewart Rhodes arrived much later than other Oath Keepers and

ordered Oath Keepers who had gone “off mission” to join him at a place away from where there were

disturbances happening. Rhodes then led the Oath Keepers who were “off mission” away from the U.S. Capitol

to dinner at Olive Garden, where – according to the D.C. Operation’s Leader for the Oath Keepers Michael

(Simmons) Greene’s FBI interviews in May 2021 – Stewart Rhodes and Michael Greene expressed utter

bewilderment about why any of the Oath Keepers entered the U.S. Capitol.

       The documents known to the Government show that the Oath Keepers extensively planned, prepared to

travel to Washington, D.C., intended to, and did provide volunteer security (“Protective Service Details” or

“PSDs”) to protect speakers, VIP attendees and crowds attending lawfully permitted demonstrations at the

Ellipse, on U.S. Capitol Grounds and provide related logistical support.

IV.    CONCLUSION

       The Court must authorize the Clerk to issue subpoena duces tecums to each of the Oath Keepers

members named who pled guilty to obtain their communications not privileged within four months leading up

to their guilty plea and one month after their guilty plea. Of course, only communications concerning or related

to their decision to plead guilty should be released and all other private communications restricted.

Dated: September 19, 2022

                                                 Respectfully Submitted,
                                                 /s/ Edward L. Tarpley Jr.____
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                                                 Counsel for Defendant,
                                                 Elmer Stewart Rhodes III



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                                           CERTIFICATE OF SERVICE

        On September 19, 2022 the undersigned hereby certifies that a true and correct copy of the foregoing
was electronically filed and served via the CM/ECF system, which will automatically send electronic
notification of such filing to all registered parties.


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